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                                                  U.S. Department of Justice
[Type text]
                                                       United States Attorney
                                                       Southern District of New York
                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007


                                                       February 6, 2023

 VIA ECF
 The Honorable Lorna G. Schofield
 United States District Court
 Southern District of New York
 40 Foley Square
 New York, NY 10007-1312



                    Re: United States v. Ross William Ulbricht
                         S1 14 Cr. 68 (LGS)

Dear Judge Schofield:

        The Government respectfully requests that the Court enter the attached Final Order of
Forfeiture in this matter. As set forth in the accompanying Declaration, all right, title, and interest
of the defendant, Ross William Ulbricht, in the Specific Property was ordered forfeited pursuant
to an Amended Preliminary Order of Forfeiture as to Specific Property (Docket Entry 395) and no
third-party claims have been filed within the statutory period. Accordingly, the attached Final
Order of Forfeiture should be entered so that the United States can dispose of the Specific Property
according to law.


                                                       Respectfully submitted,

                                                       DAMIAN WILLIAMS
                                                       United States Attorney
                                                       Southern District of New York


                                                   By: ___/s/___________________
                                                      David R. Felton
                                                      Assistant United States Attorney
                                                      Tel. (212) 637-2299


Enclosure
